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UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE
CYBERWORLD ENTERPRISE 6 - 02
TECHNOLOGIES, INC. d/b/a/ CaseNo. 9 4

TEKSTROM, INC.,
Plaintiffs,
Vv.

MICHAEL CHERTOFF, Secretary

of the Department of Homeland Security;
ALBERTO GONZALES, Attormey
General; ELAINE L. CHAO, Secretary
of the Department of Labor;

EMILIO T. GONZALEZ,

Director, United States Citizenship and
immigration Services;

Defendants.

COMPLAINT

 

COMPLAINT FOR
INJUNCTIVE AND
DECLARATORY RELIEF

 

Plaintiff CYBERWORLD ENTERPRISE TECHNOLOGIES, INC. d/b/a

TEKSTROM, INC. (Tekstrom), by and through its undersigned attorneys, file this

Complaint, hereby stating and alleging the following:

NATURE OF THE ACTION

1. The Plaintiff Tekstrom is a Delaware-based information technology

consulting and staffing company that is dependent on its ability to petition for H-1B

nonimmigrants. As such, Tekstrom is classified as an ““H-1B dependent employer” under

the Immigration and Nationality Act (INA).
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2. The Secretary of the Department of Labor (DOL) is authorized to regulate
and sanction H-1B dependent employers who displace United States workers, or fail to |
inquire into whether a United States worker might be displaced, regardless of whether or
not anyone was actually displaced. These sanctions can include monetary civil penalties,
as well as the referral to the Department of Homeland Security (DHS) for prohibition of
approving H-1B petitions for a period of time.

3. Tekstrom was investigated and sanctioned by the Wage and Hour Division
of DOL for failing to inquire into whether the H-1B nonimmigrants they were placing at
a secondary employer were, in fact, displacing United States workers. The
Administrator, Wage and Hour Division (“Administrator”) ordered that Tekstrom must

pay a monetary penalty of $3,400, and would be referred to the Attorney General for

 

mandatory debarment from filing immigrant and nonimmigrant petitions for employees
for a period of one year.

4, Tekstrom appealed the Administrator’s decision to an Administrative Law
Judge and then to the DOL Administrative Review Board, both of which affirmed the
findings and sanctions of the Administrator.

5. As an H-1B dependent employer, a prohibition on approval of H-1B
petitions filed for a period of one year will unquestionably lead to Tekstrom’s dissolution.
It is a penalty that is starkly disproportionate to the alleged transgression, considering that
no worker was displaced or adversely affected, there was no history of previous
violations, the failure to make the required inquiry was neither substantial nor willful,
Tekstrom promptly and fully cooperated with the investigation, and it has since initiated

procedures to assure future compliance.
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6. The question in this case is not only a question of proportional penalties,
but whether referral to the Attorney General for debarment is a mandatory or
discretionary penalty.. The Administrator, the ALJ, and the ARB read the INA and the
corresponding regulations as requiring a mandatory referral for debarment from the
approval of petitions filed by the employer. Tekstrom argues that this was not the intent
of Congress when it formulated the law, and is not the correct reading of the regulations
and the INA. As the future of Tekstrom depends on its ability to continue to file H-1B
nonimmigrant petitions, an order enjoining, preliminarily and permanently, the decision
of the Administrator and of the Attorney General for debarment is of paramount
importance.

PARTIES

7. Plaintiff Tekstrom, Inc. is a Delaware corporation with its principal offices
in Newark, Delaware.

8. Defendant Michael Chertoff is the Secretary of the Department of
Homeland Security. The Department of Homeland Security is the agency responsible for
implementing the INA. Mr. Chertoff is sued in his official capacity.

9. Defendant Alberto Gonzales is the Attorney General of the United States.
Mr. Gonzalez is sued in his official capacity.

10. Defendant Elaine L. Chao is the Secretary of the Department of Labor.
Ms. Chao is sued in her official capacity.

11. Defendant Emilio T. Gonzalez is the Director of United States Citizenship
and Immigration Services (USCIS), a division of the Department of Homeland Security.

Mr. Gonzalez is sued in his official capacity.

 
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JURISDICTION AND VENUE
12. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 702, et
seq, and 28 U.S.C. §§ 2201 and 2202. Venue is proper in this Court under 28 U.S.C.
§1391(e), as the Plaintiffs principal place of business is in Delaware, and the Defendants

are officers and employees of a United States agency.

STATUTORY AND REGULATORY FRAMEWORK

13. 8 U.S.C. §1182(n) establishes the statutory requirement for the “labor
condition application” (LCA), a pre-condition to the approval of an H-1B nonimmigrant
visa.

14. 20 C.F.R. Part 655 sets out the procedures adopted by the Secretary of
Labor for employers who seek nonimmigrant aliens for temporary work within the
United States. As part of that process, DOL Employment and Training Administration
(ETA) obtains information to determine whether employment of nonimmigrant workers
for temporary work will adversely affect the working conditions of similarly employed
U.S. workers. Subpart H establishes the process an employer must follow to file for, and
obtain approval from, DOL for an LCA, which then may be used to petition USCIS for a
H-1B visa under the INA to enable temporary employment of foreign workers in certain
specialty occupations.

15. 20 C.F.R. § 655.736 defines “H-1 B-dependent employer” as an employer
that meets a certain percentage standard between the employer’s total workforce

employed in the U.S. and the employer’s H-1B nonimmigrant employees. For example,

 
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an employer with 26 to 50 employees is an H-1B dependent employer if more than 12 H-
1B employees are in its workforce.

16. 20 C.F.R. §655.736 (g) (1) subjects an H-1B dependent employer to the
additional attestation obligations regarding the displacement of U.S. wokers for all LCAs
it submits to support petitions for H-1B visas.

17. 20C.E.R. § 655.738 prohibits an H-1B dependent employer from either
directly or secondarily displacing any U.S. worker. To ensure compliance in regard to
secondary displacement, prior to placing a nonimmigrant worker, the H-1B dependent
employer must make certain inquiries of, and/or obtain information from, a prospective
secondary employer of the nonimmigrant worker concerning whether the secondary
employer has displaced, or intends to displace, similarly employed U.S. workers.

18, 8 I.N.A §212(n); 20 C.F.R. §655.700(2)(3)-(4). The INA establishes an :
enforcement system under which DOL is authorized to determine whether an employer
has engaged in misrepresentation or failed to meet a condition of the LCA, and is
authorized to impose fines and penalties. Enforcement of the LCA is done by the
Administrator.

19. 8 U.S.C. § 1182()(2)(B) requires that the Secretary “shall” provide,
within 30 days after the date a complaint is filed, for a determination as to whether or not
a reasonable basis exists to make a finding. Federal regulations also provide that a
determination must be issued within 30 calendar days of the date of filing of the
complaint. 20 C.F.R. § 655.806(a)(3).

20. 20 C.F.R. § 655.810 authorizes three specific sets of civil monetary

penalties and three degrees of employer disqualification for additional LCA petitions if
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violations have occurred. The Administrator may also impose other administrative
remedies, including reinstatement and back wages, for violations of certain provisions.
In setting the amount of the civil money penalty, the Administrator must consider: the
employer’s previous compliance history, the number of workers affected, gravity of the
violation, good faith efforts by the employer, employer’s explanation, employer’s
commitment to future compliance, and any financial gain received by the employer. In
addition to a civil money penalty, the Administrator “shall” notify the Attorney General
pursuant to §655.855 that an employer is disqualified from receiving the LCA approvals
for a set period of time ranging from one year to three years depending on the nature of
the violation and willfulness of the employer’s violation.

21. 20 C.F.R. § 655.855 states that, upon final determinatton of the violations,
the Administrator shall notify the Attorney General and ETA of the associated employer
disqualification periods set out in 655.810(d). Upon notification, and for the specified
period, the Attorney General shall not approve any additional petitions filed by the
employer for the employment of nonimmigrant workers. 20 C.F.R. §655.810(c). Upon
receipt of the Administrator’s notice, the ETA “shall” invalidate any subpart H LCAs and
not accept any new applications for the specified period. 20 C.F.R. § 655,.855{d).

FACTUAL BACKGROUND AND ADMINISTRATIVE PROCEEDINGS

22, Asaconsulting and staffing agency, Tekstrom’s only real asset is its
people. It remains fundamentally reliant on its ability to petition for and hire foreign
nationals.

23, On August 9, 2001, a complaint was filed against Tekstrom, leading to an

investigation by DOL. Tekstrom was fully cooperative with the investigation, and

 
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conceded that it had failed to make the requisite inquiries. The investigation by the DOL
of Tekstrom ultimately revealed that no United States workers were displaced and that
Tekstrom paid proper wages to all employees.

24, The Administrator took no action until March 20, 2003, when the
Administrator notified Tekstrom that the investigatton had disclosed a violation of 20
C.F.R. §655.78. According to the Administrator, in violation of one of the LCA
conditions, Tekstrom had failed to make the required displacement inquiry of a secondary
employer, after the secondary employer placed the H-1B holder with another employer.
Due to the violation, the Administrator sought to impose a civil money penalty of $3,400
and directed Tekstrom to comply with 20 C.F.R. §655.78 in the future. Additionally,
under the provisions of 20 C.F.R. § 655.855 (a), the Administrator intended to inform
both the DOL, the ETA and the Attorney General of the violation.

25. In response, on April 2, 2003, Tekstrom requested a hearing with the
Office of Administrative Law Judges to dispute the decision of the Administrator. On
December 23, 2003, the ALJ affirmed the Administrator’s Determination Letter, ordering
that Tekstrom must pay a civil monetary penalty of $3,400, and that the Attorney
General, the DOL, and the ETA must be notified of the violation.

26. Subsequent to the deciston of the ALJ, Tekstrom filed an appeal with the
Administrative Review Board to review the ALJ’s decision. The ARB affirmed the
ALD’s decision and order, making it final on May 24, 2006.

CLAIM ONE
27. The Plaintiff hereby realleges and incorporates each of the foregoing

allegations as tf set forth herein.

 
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28. The INA requires that the Secretary of Labor “shall” provide, within 30
days after a complaint is filed, for a determination as to whether or not a reasonable basis
exists to make a finding. 8USC.§ 1182(n)(2)(B).

29. Although the complaint in this action was filed on August 9, 2001, the
Determination was not filed until March 20, 2003 -- well over nineteen months after the

complaint was filed. This far exceeded the 30 calendar maximum period allowed by the

statute.

30.  Tekstrom did not at any time consent to an increase in the time for the
investigation.

31. The Administrator’s failure to comply with statutory requirements for the

issuance of the Determination within thirty days, without any good cause shown,
deprived the DOL of jurisdiction over the action.
CLAIM TWO

32. ‘The Plaintiff hereby realleges and incorporates each of the foregoing
allegations as if set forth herein.

33. Although the statute provides for a mandatory 30 day limit with no
exceptions, the DOL regulations provide for exceptions to the statutory mandatory time
limit with the consent of the employer or if, for reasons outside of the control of the
Administrator, the Administrator needs additional time to obtain information needed
from the employer or other sources to determine whether a violation has occurred.

20CFR §655.806(a)(3).
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34. The Administrator showed no reasons outside of its control that might
have created the need for additional time to obtain information from Tekstrom or other
sources to determine whether a violation occurred.

35. The Administrator did not need additional time to obtain information from
the employer or other sources to determine whether a violation occurred since the
Plaintiff admitted to the violation during the 30 day period.

36. Since the statute 1s mandatory, the regulations are inconsistent and
therefore ultra vires the statute.

CLAIM THREE

37. The Plaintiff hereby realleges and incorporates each of the foregoing
allegations as if set forth herein.

38. Although prejudice is not a requirement for a time limit to be enforced,
Tekstrom was severely prejudiced by the Administrator’s extensive delay. During the
nineteen months between the filing of the Complaint and the issuance of the
Determination, employees who could serve as witnesses or who had knowledge of the
events at issue left the company. The employees who are still present at the company are
not able to testify as effectively due to the passage of time. Asa result, Tekstrom’s
ability to defend the action has been diminished, and it has been materially prejudiced.

39. The Administrator’s delays, which seriously prejudiced respondent, create
a valid defense of laches.

CLAIM FOUR
40. =‘ The Plaintiff hereby realleges and incorporates each of the foregoing

allegations as if set forth herein.
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41. Plaintiff at all times acted in good faith.

42. NoU.S. or nonimmigrant worker was adversely affected by any actions or
inaction of the Plaintiff.

43. Any alleged violation of the Plaintiff was an administrative or technical

error with no impact or harm caused.

44, _ Plaintiff has no history of any previous or subsequent violation of any law
or regulation.
45. Plaintiff’s failure to make the secondary displacement inquiries was

neither substantial nor willful.

46. Plaintiff had no knowledge nor way of obtaining knowledge of the
ultimate placement of the employees.

47. Plaintiff promptly cooperated with the Administrator’s investigation.

48. __ Plaintiff has initiated procedures to assure future compliance with all of
the technical requirements of the DOL regulations.

49. Debarment is a discretionary and not a mandatory sanction for failure to
make secondary displacement inquiries, as a matter of statutory construction, legislative
history and case precedent.

50. Congress intended sanctions to be imposed only if the placing employer
knew or had reason to know of displacement at the time of placement and did not intend
to sanction employers where displacement resulted from a good faith or inadvertent
failure to follow requirements.

51. | Where no displacement occurred, as with Plaintiff, it follows that

Congress would not have intended such harsh sanctions to be imposed.

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52. It is clearly contrary to Congressional intent to impose the maximum
possible penalty upon Plaintiff, the same penalty that would be imposed upon a blatant
violator of the law which failed to cooperate with the investigation, has a lengthy history
of previous violations and whose actions resulted in significant numbers of U.S. workers
being adversely affected.

53. The Administrator incorrectly held that debarment is a mandatory and not
a discretionary remedy, and as such, failed to exercise discretion in determining an
appropriate penalty.

CLAIM FIVE

54. The Plaintiff hereby realleges and incorporates each of the foregoing
allegations as if set forth herein.

55. DOL’s regulations do not provide for mandatory debarment where the sole
violation is failure to make secondary displacement inquiries. The mandatory debarment
provision in 20 C.F.R. § 655.180(b)(1)() applies only to violations “pertaining to...
displacement of U.S. workers.” It does not apply to violations pertaining to “failure to
make secondary displacement inquiries.” These are clearly different violations under the
statutory and regulatory scheme.

56. By the plain language of the regulations cited in the Administrator’s
Determination, Tekstrom’s alleged violation of 20 C.F.R. § 655.738 is not among the
violations requiring notification to the Attorney General for the denial of petitions for a
one-year period.

57. Further, the regulations that are cited by the Administrator, such as 20

C.F.R.§ 655.855, cannot be read to include 20 C.F.R.§ 655.810(d) when the plain

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language refers only to § 655.810(f). It would be prejudicial to Tekstrom for it to be
forced to guess which violation and remedies were being alleged and to respond to
regulations not cited in the Determination.

58. Evenif 20 C.F.R. § 655.810{d) were applied absent any citation to it, it is
not clear that it applies to violations regarding displacement inquiries and, in any case,
should be viewed as discretionary rather than mandatory. From the plain language of the
regulation, the penalty and one year bar should not be imposed on Respondent for the
alleged failure to make a displacement inquiry.

59. Since the regulations do not provide for a mandatory one year debarment
for failure to make displacement inquiries, the ARB’s Final Decision and Order is in
error in imposing a one year mandatory debarment against Tekstrom.

CLAIM SIX

60. The Plaintiff hereby realleges and incorporates each of the foregoing
allegations as if set forth herein.

61.  ‘Tekstrom is not required to make displacement inquiries of any companies
unknown to it at which another/secondary employer places an H-1B worker.

62. Tekstrom was found to be subject to mandatory debarment for failure to
make secondary displacement inquiries of secondary/tertiary employers the existence of
which is unknown to them. The ALJ held that, even though it is impossible for Tekstrom
to know of the existence of these employers, and even though it does not and cannot
obtain knowledge of the relevant facts, it is subject to mandatory debarment under a strict
liability theory since, under the ALJ’s interpretation, there is no knowledge element

contained in the violation.

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63. The requirement of inquiry applies “in every case where there wil! be
indicia of an employment relationship.” However, in the present case, Tekstrom does not
know if there will be “indicia of an employment relationship” since it does not even
know where the employees will be placed. The regulations should not be construed to
allow for sanctions to be imposed against Tekstrom for what is not under Tekstrorm’s

control or within its knowledge.

64. The regulations do not address whether the H-1B dependent employer is
subject to a finding of violation if the secondary employer places the worker at another
company which then displaces U.S. workers. Even if Tekstrom were to make all the
necessary inquiries pursuant to § 655.738(d) and (e), it still cannot prevent other/
secondary employers from placing workers at other companies that then displace U.S.
workers or fail to make the displacement inquiries of yet other companies at which they
place the worker. In this situation, which is the normal business practice of Tekstrom, it
would be impossible for Tekstrom to know at which company the worker ultimately is
employed down the chain of employers.

65. Congress did not intend for sanctions to be imposed when the placing
employer did not know or had no reason to know of displacement by an other/secondary
employer with whom the placing employer placed the worker. Further, Congress did not
intend for sanctions to be imposed when there is no displacement and when the
sanctioned conduct is failure to make a displacement inquiry even further down the
chain--by an employer with whom the other/secondary employer placed the worker.

66. The DOL regulations should be not be interpreted as requiring Tekstrom

to follow procedures outlined therein with companies at which an other/secondary

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employer places the worker, the identity of which is unclear and to which Tekstrom has
no access.
CLAIM SEVEN

67. The Plaintiff hereby realleges and incorporates each of the foregoing
allegations as if set forth herein.

68. ‘In the event that Plaintiff is debarred from filing petitions with U.S.
Citizenship and Immigration Services, and from having pending petitions approved, and
from filing LCAs and labor certification applications with DOL, Plaintiff will lose its
workforce, be unable to recruit new employees and be forced to terminate its business
operations.

69. Plaintiff has a substantial chance of success on the merits of this litigation.

70. ‘If preliminary injunctive relief is not granted, Plaintiff will suffer
irreparable harm.

PRAYER FOR INJUNCTIVE AND DECLARATORY RELIEF

WHEREFORE, Plaintiff Tekstrom, Inc. requests that this Court:

A. Preliminarily and permanently enjoin the Attorney General, and the
Department of Homeland Security/U.S. Citizenship and Immigration Services from
debarring Tekstrom and refusing to approve or to allow the filing of petitions filed by
Tekstrom.

B. Preliminarily and permanently enjoin the DOL Employment and Training
Administration from invalidating Tekstrom’s labor condition applications, and from
debarring the filing or approval of any new labor condition applications or labor

certification applications.

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Cc. Reverse the ARB’s Final Decision Order and declare that proceedings
against Plaintiff must be dismissed for lack of jurisdiction. |

D. Reverse the ARB’s Final Decision Order and declare that proceedings
against Plaintiff are barred by laches.

E. Declare that 20 C.F.R.§ 655.806{a)(3) is ultra vires the statute.

F, Declare that the ARB’s Final Decision and Order that debarment is a
mandatory penalty is incorrect as a matter of law, and remand to the Administrator for the
exercise of discretion.

G, Declare that the ARB’s Final Decision and Order be reversed insofar as it
orders debarment of Plaintiff for failure to make secondary displacement inquiries of
secondary employers where there was no displacement and where Plaintiff did not know
and could not have known of the existence of any secondary employers.

H. Award attorney fees and costs pursuant to 28 U.S.C. § 2412.

I. Such other relief as the Court may deem just and proper.

Dated: June 21, 2006

 

 

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(Pro Hac Vice application pending)

Counsel for Plaintiff
Tekstrom, Inc.

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